   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 1 of 24 PageID #:1691




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

NIMA GHARAVI, and RIGHT CALL        )
OFFICIALS, INC.,                    )
                                    )
            Plaintiffs,             )               Case No. 24-cv-1969
                                    )
      v.                            )               Hon. Steven C. Seeger
                                    )
FLOSPORTS, INC., CHRISTIAN          )
PYLES, JESSICA PRESLEY,             )
MATSCOUTS, LLC, WILLIE SAYLOR, )
ALLYSON SCHWAB, PATRICK             )
MINEO, JON KOZAK, SKRAMBLE          )
WRESTLING GEAR LLC, STEPHEN         )
KOLANKOWSKI, JOSEPH CORSINI,        )
and JOHN DOES 1- 25,                )
                                    )
            Defendants.             )
____________________________________)

                         MEMORANDUM OPINION AND ORDER

       Nima Gharavi officiates youth wrestling matches across the United States. He also runs a

side business that involves videotaping wrestling matches, editing the footage, and posting the

videos on YouTube. Unfortunately, some of those videos have wound up on websites with

pornography.

       The problem has attracted attention on social media. A number of people in the wrestling

community have expressed concerns that videos of youth wrestling have found their way onto

perverse websites.

       A few employees of FloSports have chimed in online. FloSports streams videos of live

sporting events, including wrestling matches. Two employees of FloSports, Christian Pyles and

Jon Kozak, have made online posts about the inappropriate use of wrestling footage involving
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 2 of 24 PageID #:1692




minors. They expressed concerns about two unnamed individuals who edit and market wrestling

videos to pedophiles.

       Gharavi believes that the FloSports employees were talking about him. He believes that

they accused him of promoting pedophilia.

       So he sued. Gharavi brought quite a few claims against FloSports, Pyles, and Kozak

about their social-media posts, alleging defamation and related claims. He also brought a

copyright-misrepresentation claim about a so-called takedown request, meaning a request that

Defendants made to YouTube to take down some of Gharavi’s videos.

       The case is about online speech, but the speech didn’t take place in Illinois. FloSports is

based in Texas, and Pyles and Kozak live there, too. As they see things, Gharavi can’t sue them

in Illinois simply because they posted content on the internet. They moved to dismiss for lack of

personal jurisdiction.

       For the reasons stated below, the motion to dismiss for lack of personal jurisdiction is

hereby granted.

                                          Background

       At the motion-to-dismiss stage, the Court must accept as true the well-pleaded allegations

of the complaint. See Lett v. City of Chicago, 946 F.3d 398, 399 (7th Cir. 2020). The Court

“offer[s] no opinion on the ultimate merits because further development of the record may cast

the facts in a light different from the complaint.” Savory v. Cannon, 947 F.3d 409, 412 (7th Cir.

2020). However, in deciding a motion to dismiss for lack of personal jurisdiction, the Court can

consider facts outside the pleadings. See Curry v. Revolution Lab’ys, LLC, 949 F.3d 385, 393

(7th Cir. 2020); see also Matlin v. Spin Master Corp., 921 F.3d 701, 705 (7th Cir. 2019).




                                                2
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 3 of 24 PageID #:1693




        Nima Gharavi, an Illinois resident, is a wrestling official. See Second Am. Cplt., at ¶ 1

(Dckt. No. 67). Gharavi has officiated hundreds of matches in the United States in the last seven

years. Id. at ¶¶ 1, 19, 25.

        In addition to officiating, Gharavi attends various “local and regional wrestling matches

hosted by high schools [and] colleges . . . .” Id. at ¶ 21. Gharavi often video-records the

matches. Id. at ¶ 22.

        Gharavi runs a YouTube channel under the handle “Midwest Wrestle” to share these

videos. Id. at ¶ 23. He posts “his edited videos . . . to share his passion for the sport and so that

friends and family of the athletes have a way to view and share the matches.” Id.

        “To maximize his viewership and provide higher-quality videos to attendees and fans of

the sport, [] Gharavi utilizes a high-quality video camera” and spends an “immeasurable” amount

of time editing the videos. Id. at ¶ 24.

        Many of the athletes in Gharavi’s videos are minors. Id. at ¶ 26. So, Gharavi spends

“several hours each day” reviewing and moderating comments on his channel’s videos. Id. He

“translat[es] comments in foreign languages to ensure offensive and inappropriate commentary

are identified and removed and the offending accounts are blocked.” Id.

        Sometimes unaffiliated websites embed or re-post videos from Midwest Wrestle’s

YouTube channel. Id. at ¶ 27. Some of the websites are “standard sources such as the NCAA

[or] local wrestling clubs.” Id. at ¶ 29.

        But other websites have a darker side. To Gharavi’s “great dismay,” his videos have

appeared on websites that contain pornographic or “other immoral and offensive content.” Id. at

¶ 30.




                                                  3
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 4 of 24 PageID #:1694




           Gharavi has no affiliation with these pornographic and offensive websites. Id. at ¶ 31.

He did not consent to his videos appearing on those websites. Id. He has never posted, or

encouraged anyone to post, his videos on pornographic websites. Id. at ¶ 34.

           In fact, Gharavi “regularly submits takedown requests” to these websites, asking that they

remove his videos. Id. at ¶ 32. But the videos sometimes pop back up, because the practice of

posting videos of wrestling matches on pornographic websites is “unfortunate but common.” Id.

at ¶ 31.

           FloSports, Inc. is a competitor of sorts to Gharavi. FloSports records and broadcasts live

sporting events, including wrestling matches. Id. at ¶ 2. FloSports is a Delaware corporation

with its principal place of business in Texas. Id. at ¶ 2; Defs.’ Mem. in Supp. of Mtn. to Dismiss,

at 8 (Dckt. No. 32-1).

           Christian Pyles and Jon Kozak are FloSports employees. Pyles is a Content Director, and

Kozak is a ranker. See Second Am. Cplt., at ¶¶ 3, 9 (Dckt. No. 67). Pyles and Kozak are citizens

of Texas. Id.

           In the spring of 2023, FloSports and Pyles began “intentionally and unjustifiably

targeting [] Gharavi and Midwest Wrestle.” Id. at ¶ 38.

           The problems began with takedown notices. A takedown notice isn’t a braggadocious

way of communicating to a wrestling opponent about a forthcoming headlock. A takedown

notice often refers to a request under the Digital Millennium Copyright Act to remove online

content that violates a copyright. But by the sound of things, YouTube accepts takedown

requests for other reasons, too.




                                                    4
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 5 of 24 PageID #:1695




       Connor Jaschen, an employee of FloSports, submitted takedown notices to YouTube for

20 of Gharavi’s videos on his Midwest Wrestle channel. Id. The complaint alleges that the

takedown notices were “false” because FloSports didn’t own the copyright. Id.

       Gharavi “successfully defended” the takedown requests. Id. But it took three weeks, and

YouTube banned him from posting new content in the meantime. Id. The ban caused a loss of

viewership and revenue, and it took Gharavi four months to get it back. Id.

       Later, in June 2023, FloSports sent Gharavi a cease-and-desist letter “expressing its

concern that [] Gharavi had filmed and posted videos of wrestling matches for which FloSports

claim[ed] to have exclusive recording rights.” Id. at ¶ 42.

       FloSports then upped the ante. Counsel for FloSports sent an email to counsel for

Gharavi, entitled “Litigation Hold.” “Mr. Gharavi continues to publish competition video from

wrestling events to which Flo holds exclusive media rights.” See Second Am. Cplt., Ex. D, at 2

of 3 (Dckt. No. 67-4).

       Along the way, counsel for FloSports accused Gharavi of knowingly distributing material

that wound up on pornographic websites. See Second Am. Cplt., at ¶ 43 (Dckt. No. 67).

       Counsel for FloSports wrote: “He promotes many of his videos using thumbnail images

that emphasize the genitalia of the wrestlers, generally high school students. As a result, a

number of Gharavi’s videos are distributed on pornographic websites around the world. And not

only does Mr. Gharavi know about it, he has chosen to monetize this distribution of child

pornography.” See Second Am. Cplt., Ex. D, at 2 of 3 (Dckt. No. 67-4).

       That allegation didn’t go over well with Gharavi. Counsel for Gharavi responded by

letter and “vehemently denie[d] all such claims and or [sic] accusations.” See Second Am. Cplt.,

Ex. E, at 2 of 3 (Dckt. No. 67-5); see also Second Am. Cplt., at ¶ 45 (Dckt. No. 67).



                                                 5
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 6 of 24 PageID #:1696




       Six months later, on December 30, 2023, Pyles published three social-media posts on X,

formerly known as Twitter. The three tweets did not mention Gharavi or Midwest Wrestle by

name. Second Am. Cplt., at ¶ 50 (Dckt. No. 67); see also Second Am. Cplt., Ex. G (Dckt. No.

67-7). Even so, the complaint alleges that the posts were about Gharavi and Midwest Wrestle.

       Pyles made his first tweet after re-posting comments from Allyson Schwab, a

co-Defendant. In that post, Schwab declared that she was a parent, and she expressed concerns

about the suggestiveness of cropped photos and videos of youth wrestling. But Schwab didn’t

mention Gharavi or Midwest Wrestle:

              Ok real talk.

              I am a parent. I am also a content creator. I shoot video, photos, etc. I
              understand in our sports some things are going to maybe look a certain
              way or show in singlets. I crop, I sometimes just don’t use a photo as a
              way to protect the kid. That same pic could be out there 30 other ways,
              but it’s just what I do.

              Parents – do yourself a favor. Look at the places your kids pop up on –
              sites channels – Search them on YouTube. Is the video of the match or
              your child walking back and forth for a while. Is the image selected for
              the video suggestive?

              This is a real thing in our sports. All you have to do is look at the photos
              or videos of a creator to understand if it’s intentional or not. Are all the
              frames selected for videos suggestive? Are all the photos of positions you
              wouldn’t see other photographers post? Is there 240k views on a jv
              match?

              Do your due diligence and research! Also schools/tournament directors
              have someone check who you’re credentialing to photograph these
              athletes esp minors.

See Second Am. Cplt., Ex. F, at 3 of 101 (Dckt. No. 67-6) (cleaned up).

       After re-posting Schwab’s tweet, Pyles offered three tweets of his own.

       In the first tweet, Pyles agreed that the situation was a “[h]uge problem.” See Second

Am. Cplt., Ex. G, at 3 of 24 (Dckt. No. 67-7) (cleaned up). He discussed two individuals who

                                               6
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 7 of 24 PageID #:1697




posted suggestive videos of youth wrestling. He mentioned “the one in Iowa.” Id. And then, he

referred to “one just as bad, if not worse who is scarily enough an official.” Id.

       Pyles didn’t reveal any names. But he described the situation as “true evil” because it

appealed to “twisted desires,” writing:

               Huge problem.

               We (Flo[Sports]) turned in the one in Iowa, raised it with [the National
               Wrestling Media Association], he was let go by the wrestling media group
               who employed him.

               There’s one just as bad, if not worse who is scarily enough an official.

               Flo[Sports] has done everything in power, leveraging partners, etc. to get
               him out.

               He threatens to sue constantly.

               It’s true evil. I’ve seen other content creators naively laud this guy’s work.
               Not knowing the incredible view counts (which eclipse the most viewed
               [senior] level/NCAA matches in history) are from people with twisted
               desires.

Id. (cleaned up).

       Pyles made the second tweet a little later that day. In that post, Pyles described the

actions that FloSports had taken to prevent those two individuals from shooting videos:

               With both of these parasites, we had a moment where we (Flo[Sports]
               staff) felt we “got em!” Despite all the evidence presented to law
               enforcement, governing bodies, [the National Wrestling Media
               Association], both individuals are still at wrestling events all the time.
               Sometimes as an official, sometimes shooting. Not just college. Youth,
               HS as well. Minors. When I say it’s kept me/us up some nights, it’s not
               hyperbole. It’s a helpless feeling knowing they are still around, and even
               worse to feel mostly stifled in what you can say due to their threat of legal
               action.

               This whole situation has been really disturbing for me and the entire
               Flo[Sports] team. We discovered the IA guy, he is still running around to
               various HS and non d1 events (got kicked out of a d1 event this weekend)



                                                 7
   Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 8 of 24 PageID #:1698




                   and posting content. So disturbing he’s not black balled entirely, but no
                   mechanism really exists for that.

                   When we figured out what the official was doing, we had what we thought
                   was “everything” figured out. We collected it all. Presented it to higher
                   ups at Flo[Sports] who escalated it widely to various authorities and
                   wrestling leadership. This guy is still running around doing the same
                   thing. Youth, HS, college and still an official as of this season.

                   When he learned that we knew about all the tactics he was utilizing, he
                   made immediate adjustments to his page, trying to change his thumbnails
                   back to less suggestive images.

Id. at 6 of 24.

        Pyles posted the third tweet about twenty minutes later. He expressed outrage that

parents had thanked “this guy” for making videos of children wrestling:

                   I’ve seen parents of totally unknown wrestlers THANK this guy for the
                   video of their child getting hundreds of thousands of views.

                   Imagine being that head in the clouds about what is actually happening.

                   The comment counts are very low relative to the views because he leaves
                   embed (and monetization) function on so the videos can be embedded on
                   OTHER sites.

Id. at 10 of 24.

        A few days later, Kozak (the FloSports ranker) wrote a post on a message board on

InterMatWrestle.com, a social-media forum for wrestling-related topics. See Second Am. Cplt.,

at ¶ 51 (Dckt. No. 67).

        The people on that message board commented on the tweets by Schwab and Pyles. The

name of the conversation was “Creeps in the wresting community – What can we do about it?”

See Second Am. Cplt., Ex. H, at 3 of 87 (Dckt. No. 67-8).

        Other individuals asked for more specificity about the allegations made by Schwab and

Pyles in their posts. A user with the name “flyingcement” offered some details to fill in the gaps.



                                                    8
     Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 9 of 24 PageID #:1699




That user stated that “Nima Gharavi (Illinois / Midwest Wrestle)” was one of the two officials in

question.1 Id. at 6 of 87.

          After a few days, and after a few dozen posts from various users, Kozak added a message

on the message board and chimed in. Kozak noted that some wrestling videos posted by the

individual in question ended up on pornographic websites.

          Other posts on the message board explicitly referred to Gharavi and Midwest Wrestle.

Kozak didn’t follow suit. Kozak stuck with pronouns (“he” and “his”), without naming names:

                   A few things to add here that haven’t been covered:

                   –His videos (of minors) are embedded on porn sites

                   –Many of his most viewed videos have large portions that don’t feature
                   wrestling (wrestlers walking around during injury time/blood time)

                   –He films and uploads videos without having permission/rights to the
                   events

                   Most recently he wasn’t credentialed for Midlands and filmed anyway
                   before he got kicked out by Storniolo.

                   We’ve tried to strike his channel for copyright infringement because
                   that’s what we can actually prove. We’re still working through it but
                   things have gotten tricky where we’ve had to bring in legal.

Id. at 27 of 87.

          In the complaint, Gharavi alleges that the tweets and the posts were about him. He took

umbrage at the suggestion that he is involved in child pornography.

          Gharavi declared that he “is not a pedophile, does not engage in immoral or dangerous

conduct, does not pose a danger to the wrestling community, and has never intentionally allowed

or encouraged pornographic websites to embed his videos into their own website.” See Second



1
    The user “flyingcement” was later identified as Joseph Corsini, who is also a defendant in this lawsuit.


                                                       9
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 10 of 24 PageID #:1700




Am. Cplt., at ¶ 56 (Dckt. No. 67). In his view, FloSports, Pyles, and Kozak have no evidence to

suggest otherwise. Id. at ¶¶ 68–70.

        Gharavi responded to the social-media posts by bringing a 14-count complaint against 11

Defendants. Only three Defendants are relevant here.

        Gharavi brings five claims against FloSports, Pyles, and Kozak, including defamation per

se (Count I), defamation per quod (Count II), invasion of privacy by false light (Count III),

intentional infliction of emotional distress (Count IV), and tortious interference with business

relationships (Count V). Id. at ¶¶ 76–108.

        Gharavi also brings a few additional claims against FloSports alone, including a claim

under the Illinois Uniform Deceptive Trade Practices Act (Count VI), a misrepresentation claim

under 17 U.S.C. § 512(f) (Count VII), and an unjust-enrichment claim (Count VIII). Id. at

¶¶ 109–27.

        Gharavi seeks damages for reputational harm, loss of business, emotional distress, an

attempted home break-in, and other threats to his physical safety. Id. at ¶¶ 61–67, 72–75.

        FloSports, Pyles, and Kozak moved to dismiss the complaint for lack of personal

jurisdiction and for failure to state a claim.

                                           Legal Standard

        When considering a motion to dismiss for lack of personal jurisdiction, a district court

must “read the complaint liberally, in its entirety, and with every inference drawn in” the

plaintiff’s favor. Central States, Se. & Sw. Areas Pension Fund v. Phencorp Reinsurance Co.,

440 F.3d 870, 878 (7th Cir. 2006) (citation omitted). Additionally, a district court can consider

matters outside of the pleadings. See Purdue Rsch. Found. v. Sanofi-Synthelabo, S.A., 338 F.3d

773, 782 (7th Cir. 2003).



                                                 10
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 11 of 24 PageID #:1701




       A plaintiff “is entitled to the resolution in its favor of all disputes concerning relevant

facts presented in the record.” Id.; see also Curry v. Revolution Lab’ys, LLC, 949 F.3d 385, 393

(7th Cir. 2020). When it comes to factual matters, the tie goes to personal jurisdiction.

       A district court must hold an evidentiary hearing when personal jurisdiction turns on the

resolution of a dispute about material facts. See Hyatt Int’l Corp. v. Coco, 302 F.3d 707, 713

(7th Cir. 2002). But here, none of the parties point to any material facts in dispute. The parties

gave this Court no reason to hold an evidentiary hearing, so it won’t hold one. Id.; see also

Harbor Grand, LLC v. EMCASCO Ins. Co., 2022 WL 4079436, at *1 (N.D. Ill. 2022) (declining

to hold an evidentiary hearing because there were no material factual disputes); Urban 8

Danville Corp. v. Nationwide Affordable Hous. Fund 4, LLC, 2020 WL 3058101, at *2 n.4 (N.D.

Ill. 2020) (same).

       The party asserting personal jurisdiction – here, Gharavi – bears the burden of proof. See

Kipp v. Ski Enter. Corp. of Wis., Inc., 783 F.3d 695, 697 (7th Cir. 2015). When a court resolves a

motion to dismiss for lack of personal jurisdiction based on the briefs, without an evidentiary

hearing, the plaintiff “need only make out a prima facie case of personal jurisdiction.” Purdue

Rsch. Found., 338 F.3d at 782 (citation omitted); see also Hyatt Int’l Corp., 302 F.3d at 713.

                                              Analysis

       FloSports, Pyles, and Kozak moved to dismiss under Rule 12(b)(2) for lack of personal

jurisdiction, and under Rule 12(b)(6) for failure to state a claim. As discussed below, this Court

lacks personal jurisdiction, so the analysis starts and ends there.

       “Federal courts ordinarily follow state law in determining the bounds of their jurisdiction

over persons.” Daimler AG v. Bauman, 571 U.S. 117, 125 (2014). A federal court’s authority “to

assert personal jurisdiction in most cases is linked to service of process on a defendant ‘who is



                                                  11
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 12 of 24 PageID #:1702




subject to the jurisdiction of a court of general jurisdiction in the state where the district court is

located.’” Walden v. Fiore, 571 U.S. 277, 283 (2014) (quoting Fed. R. Civ. P. 4(k)(1)(A)).

          So, unless there is a federal statute authorizing nationwide service of process, this Court

“may exercise personal jurisdiction over [a defendant] only to the extent that a court of general

jurisdiction in Illinois could.” See Illinois v. Hemi Grp. LLC, 622 F.3d 754, 756 (7th Cir. 2010)

(citing Fed. R. Civ. P. 4(k)(1)(A)).

          Here, all but one of Gharavi’s claims arise under state law. Gharavi does bring a federal

claim under 17 U.S.C. § 512 of the Copyright Act, but the Copyright Act does not provide for

nationwide service of process. See Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d

1063, 1070 (10th Cir. 2008) (Gorsuch, J.). So this Court must apply the Illinois long-arm statute

to determine personal jurisdiction. See Fed. R. Civ. P. 4(k)(1)(A).

          The Illinois long-arm statute authorizes personal jurisdiction to the extent “permitted by

the Illinois Constitution and the Constitution of the United States.” See 735 ILCS 5/2-209(c).

So, the requirements under state statute and the federal Constitution “merge.” See uBID, Inc. v.

GoDaddy Group, Inc., 623 F.3d 421, 425 (7th Cir. 2010); see also Tekway, Inc. v. Agarwal, 2020

WL 5946973, at *4 (N.D. Ill. 2020). When it comes to personal jurisdiction, Illinois law allows

whatever the Due Process Clause allows.

          The Due Process Clause permits a court to exercise personal jurisdiction if the defendant

has purposefully established “minimum contacts” with the forum state. Burger King Corp. v.

Rudzewicz, 471 U.S. 462, 474 (1985). The minimum contacts must not “offend traditional

notions of fair play and substantial justice.” Int’l Shoe Co. v. Washington, 326 U.S. 310, 316

(1945).




                                                   12
     Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 13 of 24 PageID #:1703




         Personal jurisdiction comes in two varieties: general jurisdiction and specific

jurisdiction. Gharavi argues that this Court has both. In reality, this Court has neither.

I.       General Jurisdiction

         The first question is whether this Court has general jurisdiction over FloSports, Pyles,

and Kozak. General jurisdiction is a high standard. It applies only where a defendant is “at

home.” And here, Defendants are far from home.

         “General jurisdiction is for suits neither arising out of nor related to the defendant’s

contacts with the State.” GCIU-Employer Ret. Fund v. Goldfarb Corp., 565 F.3d 1018, 1023

(7th Cir. 2009). A defendant “may be sued on any and all claims” where it is subject to general

jurisdiction, without regard to the nexus between the forum-state contacts and the nature of the

claim. Daimler, 571 U.S. at 137.

         In a nutshell, general jurisdiction exists when a plaintiff sues a defendant on that

defendant’s home turf. A defendant can be sued in his or her home state for anything and

everything. It’s hard to complain about getting sued in your own backyard, because home comes

with a home-field advantage. So any claim is fair game.

         “The standard for general jurisdiction is demanding because the consequences can be

severe.” uBID, 623 F.3d at 426. A defendant is subject to general jurisdiction only when its

“affiliations with the State are so ‘continuous and systematic’ as to render [it] essentially at home

in the forum State.” Daimler, 571 U.S. at 139 (alteration in original) (citing Goodyear Dunlop

Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011)). “[C]ontacts [that] can be said to be

in some sense ‘continuous and systematic’” are not enough. Id. (emphasis added).




                                                   13
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 14 of 24 PageID #:1704




       General jurisdiction exists where a defendant is at home. For a corporation, home

typically means the place of incorporation and the principal place of business. Id. at 137. For

individuals, home means that person’s state of domicile. Id.

       The Supreme Court left open the possibility that general jurisdiction might exist in other

situations. But if the window of opportunity is open, the opening is only a crack. It would take

an “exceptional case.” Id. at 139 n.19.

       FloSports is a Delaware corporation with its principal place of business in Texas. So,

FloSports is subject to general jurisdiction in Delaware and Texas. Similarly, Pyles and Kozak

are domiciled in Texas, so they are subject to general jurisdiction in the Lone Star State.

       Gharavi does not dispute those facts. Instead, Gharavi appears to argue that this case is

an “exceptional case.”

       It’s hard to see why. The substance of the case might be unusual. But from a

jurisdictional perspective, the issues are run of the mill.

       Start with FloSports. Gharavi alleges that FloSports markets its business to Illinois

residents and distributes its services to Illinois residents. See Pl.’s Resp., at 9 (Dckt. No. 41). Its

employees travel across the country, including Illinois. Id.

       That’s about it. And that’s hardly “exceptional.” Those connections fall far short of

establishing general jurisdiction. See, e.g., BNSF Ry. Co. v. Tyrrell, 581 U.S. 402, 414 (2017)

(declining to find the railroad BNSF “at home” in Montana despite its “over 2,000 miles of

railroad track and more than 2,000 employees in Montana”); see also Thomas v. Walmart Inc.,

2024 WL 1050179, at *7 (N.D. Ill. 2024) (holding that the court did not have general jurisdiction




                                                  14
    Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 15 of 24 PageID #:1705




over Walmart even though it was the state’s largest employer because the plaintiffs failed to show

“that the company’s nationwide or global business operations [were] directed from Illinois”).2

        FloSports has contacts with lots of states, but those contacts do not mean that FloSports is

at home everywhere it goes. After all, “[a] corporation that operates in many places can scarcely

be deemed at home in all of them.” See BNSF, 581 U.S. at 414 (quoting Daimler, 571 U.S. at

140 n.20). General jurisdiction is not like an RV – you’re not at home wherever you go.

        This Court does not have general jurisdiction over Pyles and Kozak, either.

        Gharavi alleges that users in Illinois read the social-media posts by Pyles and Kozak. He

believes that Pyles and Kozak are social-media influencers and generated money through their

posts. See Pl.’s Resp., at 10 (Dckt. No. 41).

        That’s not enough for general jurisdiction. A person is not at home everywhere that he

does business. See Alani Nutrition, LLC v. Ryse Up Sports Nutrition, LLC, 2024 WL 148969, at

*3 (N.D. Ill. 2024) (“[E]xercising general personal jurisdiction over [defendants] simply because

[their] social media activity reaches Illinois residents would mean that every social media

influencer is ‘at home’ in every state in which they have followers. Such a proposition would

stretch the boundaries of personal jurisdiction far beyond constitutional limits.”).3



2
  Gharavi points out that a court in this district exercised general personal jurisdiction over defendants
who the court determined “had continuous and systematic contacts with Illinois by way of their product
distribution network related to ShamWow! towels.” See Jordan Miller & Assocs., Inc. v. Shlomi, 2021
WL 1923403, at *3 (N.D. Ill. 2021). There, the complaint alleged “that ShamWow! towels were
distributed to retail stores with significant Illinois operations,” which “suggest[ed] that ShamWow! towels
were sold in Illinois.” Id. Notably, that court did not cite Daimler, and it did not contend whatsoever
with the “essentially at home” language present in both Daimler and Goodyear. In any case, a district
court case is merely persuasive authority. See All. to End Repression v. City of Chicago, 820 F.2d 873,
875 (7th Cir. 1987); see also Slep-Tone Ent. Corp. v. Kalamata, Inc., 75 F. Supp. 3d 898, 905 (N.D. Ill.
2014) (noting that “prior decisions by courts in [this district] were not binding precedent [but could] serve
as persuasive authority” when they were “well-reasoned and particularly persuasive on the issue”).
3
  Gharavi cites a series of cases about website operators from the early 2000s that appear to have been
overruled by intervening case law, including Daimler and Goodyear. Compare Pl.’s Resp., at 10–11
(Dckt. No. 41), with Defs.’ Reply, at 2 (Dckt. No. 48) (“Plaintiffs rely on overruled case law regarding
                                                     15
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 16 of 24 PageID #:1706




        FloSports, Pyles, and Kozak aren’t at home in Illinois, so this Court lacks general

jurisdiction over them.

II.     Specific Jurisdiction

        The only other possibility is specific jurisdiction. But based on the allegations, specific

jurisdiction isn’t an option.

        Unlike general jurisdiction, specific jurisdiction isn’t about where a defendant is from.

Specific jurisdiction comes from “the relationship among the defendant, the forum, and the

litigation.” Walden v. Fiore, 571 U.S. 277, 284 (2014); see also GCIU, 565 F.3d at 1023

(“Specific jurisdiction [] ‘refers to jurisdiction over a defendant in a suit arising out of or related

to the defendant’s contacts with the forum.’”).

        A court has specific jurisdiction “when the defendant purposefully directs its activities at

the forum state and the alleged injury arises out of those activities.” Mobile Anesthesiologists

Chicago, LLC v. Anesthesia Assocs. of Houston Metroplex, P.A., 623 F.3d 440, 443 (7th Cir.

2010); see also Daimler, 571 U.S. at 127.

        A defendant’s contacts with the forum state must “directly relate to the challenged

conduct or transaction.” Tamburo v. Dworkin, 601 F.3d 693, 700 (7th Cir. 2010); see also

Advanced Tactical Ordnance Sys., LLC v. Real Action Paintball, Inc., 751 F.3d 796, 800 (7th Cir.

2014) (“[T]he defendant’s suit-related conduct must create a substantial connection with the

forum State.”) (emphasis in original).

        The Seventh Circuit recently restated the three-part test for specific jurisdiction:

                First, the defendant’s contacts with the forum state must show that it
                purposefully availed itself of the privilege of conducting business in the
                forum state or purposefully directed its activities at the state. Second, the

general jurisdiction.”). As discussed above, “continuous and systematic” is not enough. The defendant
must also be “at home” in the forum state.


                                                  16
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 17 of 24 PageID #:1707




                plaintiff’s alleged injury must have arisen out of the defendant’s forum-
                related activities. And finally, any exercise of personal jurisdiction must
                comport with traditional notions of fair play and substantial justice.

NBA Properties, Inc. v. HANWJH, 46 F.4th 614, 623 (7th Cir. 2022) (citation omitted).

       This Court took a close look at Defendants’ contacts with Illinois, meaning the contacts

that allegedly gave rise to the injuries. For specific jurisdiction, the alleged injury must have

arisen out of “the defendant’s forum-related activities.” Id. Any other contacts with Illinois

don’t matter.

       Different claims involve different conduct by FloSports, Pyles, and Kozak. The state-law

claims (Counts I to VI, VIII) are based on Defendants’ social-media activity. See Second Am.

Cplt., at ¶¶ 76–116, 122–27 (Dckt. No. 67). The federal claim of copyright misrepresentation is

about the takedown requests that a FloSports employee sent to YouTube. Id. at ¶¶ 117–21.

       The nexus is different, and the Court must consider these claims separately. See Gillam v.

Abro Kalamazoo 3, Inc., 712 F. Supp. 3d 1079, 1084 (N.D. Ill. 2024) (“Specific jurisdiction,

unlike general jurisdiction, is case-specific. And more than that, it is claim-specific: there must

be personal jurisdiction over defendant as to each claim when considered separately.”).

       The Court will start with the state-law claims before turning to the copyright-

misrepresentation claim.

       A.       State-Law Claims

       The state-law claims are about the social-media posts by FloSports, Pyles, and Kozak.

See Second Am. Cplt., at ¶¶ 76–116, 122–27 (Dckt. No. 67).

       Gharavi takes issue with the content of the posts. He brings a grab-bag of claims,

including defamation, false light, emotional distress, and interference with a business

relationship. Id. at ¶¶ 76–108. He also alleges deceptive trade practices. Id. at ¶¶ 109–16.



                                                 17
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 18 of 24 PageID #:1708




        The claims don’t get very far before stumbling into the issue of purposeful availment.

Specific jurisdiction does not exist unless Defendants “purposefully availed themselves of the

privilege of conducting business in Illinois, or purposefully directed their activities at this

forum.” Engs Com. Fin. Co. v. Premiere Copier, Inc., 2023 WL 3259780, at *6 (N.D. Ill. 2023)

(citing Felland v. Clifton, 682 F.3d 665, 673 (7th Cir. 2012)).

        In other words, a defendant must purposefully reach out to the forum state. The

relationship “must arise out of contacts that the ‘defendant himself’ creates with the forum.”

Advanced Tactical Ordnance, 751 F.3d at 801 (emphasis in original) (quoting Walden, 571 U.S.

at 277). That said, “the nature of the purposeful-direction/purposeful-availment inquiry depends

in large part on the type of claim at issue.” See Felland, 682 F.3d at 674.

        In a case about intentional torts, personal jurisdiction requires “(1) intentional conduct (or

‘intentional and allegedly tortious’ conduct); (2) expressly aimed at the forum state; (3) with the

defendant’s knowledge that the effects would be felt – that is, the plaintiff would be injured – in

the forum state.” Tower Commc’ns Expert, LLC v. TSC Constr., LLC, 2018 WL 5624268, at *6

(N.D. Ill. 2018) (quotation marks omitted) (quoting Tamburo, 601 F.3d at 703).

        “[T]he mere fact that [the defendant’s] conduct affected plaintiffs with connections to the

forum State does not suffice to authorize jurisdiction.” See Walden, 571 U.S. at 291; see also

Green Light Nat’l, LLC v. Kent, 2018 WL 4384298, at *3 (N.D. Ill. 2018) (“It is not enough that

a defendant know that any injury resulting from alleged tortious conduct would be felt in the

forum state.”) (citation omitted); Ariel Invs., LLC v. Ariel Cap. Advisors LLC, 881 F.3d 520, 522

(7th Cir. 2018) (“Knowing about a potential for harm in a particular state is not the same as

acting in that state – and it takes the latter to permit personal jurisdiction under state law.”)

(emphasis in original).



                                                  18
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 19 of 24 PageID #:1709




       That is, “mere injury to a forum resident is not a sufficient connection to the forum. . . .

The proper question is not where the plaintiff experienced a particular injury or effect but

whether the defendant’s conduct connects him to the forum in a meaningful way.” Walden, 571

U.S. at 290 (emphasis added). A plaintiff “must allege injury and ‘something more’ directed at

the state before jurisdiction over a foreign defendant may be considered proper.” Engs Com. Fin.

Co., 2023 WL 3259780, at *5 (emphasis in original) (cleaned up).

       Those rules apply with special force when it comes to online communications. A

defendant isn’t subject to personal jurisdiction nationwide for posting something on the

worldwide web. And a defendant isn’t subject to jurisdiction in a particular state simply because

the post is about someone in that state.

       Posting something about someone on the internet is not enough to give rise to personal

jurisdiction in the target person’s home state. The post must constitute speech uniquely voiced in

the forum state, or call for action in the forum state. It’s the difference between putting a stake in

the ground, and launching something into the atmosphere. Throwing content into the wind does

not mean that there is personal jurisdiction wherever it lands.

       Courts routinely hold that specific jurisdiction must rest on something more than posts on

the internet about a plaintiff in the forum state. See, e.g., Hoffman v. Barnes, 2012 WL 1021837,

at *4 (N.D. Ill. 2012) (finding no personal jurisdiction in a defamation case because there was

“no evidence of express aiming beyond the plaintiffs’ mere residence in Illinois”); Bittman v.

Fox, 2016 WL 2851566, at *8 (N.D. Ill. 2016) (finding no personal jurisdiction because plaintiff

failed to show that defendant “expressly directed any tortious conduct at the State of Illinois,

rather than at an Internet audience of fellow activists”).




                                                 19
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 20 of 24 PageID #:1710




        But sometimes online communications do give rise to personal jurisdiction. In those

cases, courts require some extra connection to the forum state, above and beyond saying

something on the internet about a person in that state.

        A good example is Majumdar v. Fair, 567 F. Supp. 3d 901 (N.D. Ill. 2021). That case

involved a professor who brought defamation claims about social-media posts. The posts

accused the professor of sexually assaulting and harassing students at the University of Chicago.

        In those posts, the defendant repeatedly referenced the University of Chicago, frequently

“tagging” the university’s social-media page. Id. at 911. The district court equated that activity

to “sen[ding] open letters to the University of Chicago [or] post[ing] copies on campus bulletin

boards for all to see.” Id. The defendant also “tagged at least two Illinois residents, including

one of [the] plaintiff’s current [] colleagues at the University of Chicago.” Id.

        The court found it “difficult to accept [the] defendant’s argument that she did not

purposefully direct or expressly aim her posts at Illinois, not only because she specifically

directed many of them at Illinois-based users such as ‘@UChicago,’ but also for the independent

reason that the content of the posts suggest[ed] that pressuring the University of Chicago to take

action against [the] plaintiff . . . was the goal of her social media campaign.” Id.

        In the end, the court found specific jurisdiction. Id. at 911, 913. The defendant explicitly

referenced Illinois in her posts. Id. The defendant primarily targeted social-media users in

Illinois, and encouraged an Illinois university and Illinois residents to take action against the

plaintiff in Illinois. Id.

        The Seventh Circuit reached the same conclusion in Tamburo, which involved an

allegation of defamation based on posts on a website. Specific jurisdiction existed because the




                                                 20
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 21 of 24 PageID #:1711




defendants encouraged people in Illinois to do something in Illinois. “[S]ome of the messages

specifically listed Tamburo’s Illinois address and urged readers to harass him. This is enough for

a prima facie case of personal jurisdiction under Calder’s ‘express aiming’ test for personal

jurisdiction in intentional-tort cases.” See Tamburo, 601 F.3d at 706.

        A leading case from another district shows how online content can fall on different sides

of the jurisdictional boundary line. See Vangheluwe v. Got News, LLC, 365 F. Supp. 3d 850, 864

(E.D. Mich. 2019). That case was about defamatory tweets. Some tweets gave rise to personal

jurisdiction, and others didn’t.

        One defendant published a tweet that included the address of a Michigan resident, which

was “fairly characterized as doxing” (meaning the public disclosure of personal identifying

information). Id. at 861. The “tweet was intended to cause some action in Michigan or catch the

eye of those most able to make contact with the Vangheluwes, i.e., Michiganders.” Id. So it

gave rise to personal jurisdiction.

        Another tweet was more up in the air, without sufficient ties to Michigan. That tweet

attached an article that flagged the fact that the plaintiff lived in Michigan. Id. But the tweet did

not call on people in Michigan to do anything in Michigan.

        The article “was not tailored to a Michigan audience. Nor is there evidence that

GotNews marketed or circulated the article to people in Michigan specifically as opposed to

GotNews readers generally.” Id. at 863. There was nothing about the tweet “specifically

targeting the pocket books of Michiganders.” Id. at 864.

        That body of case law confirms that this Court lacks personal jurisdiction over FloSports,

Pyles, and Kozak. They did not mention Gharavi by name, let alone mention that he lives in

Illinois.



                                                 21
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 22 of 24 PageID #:1712




         And even if they had, the posts would not give rise to personal jurisdiction. The posts did

not call on anyone in Illinois to take any action against Gharavi in Illinois. The posts were not

“tailored to a [Illinois] audience,” and there is no “evidence that [Defendants] marketed or

circulated the article to people in [Illinois] specifically as opposed to [their] readers generally.”

Vangheluwe, 365 F. Supp. 3d at 863.

         The complaint does not even allege that Defendants knew that Gharavi resided in Illinois.

So the fact that Gharavi lived in Illinois was “purely incidental.” Hoffman, 2012 WL 1021837,

at *4.

         And even if Defendants knew about his Illinois residency, that knowledge would not

suffice. Again, knowing about a potential for harm in a particular state is not a basis for specific

jurisdiction. See Ariel Invs., 881 F.3d at 522; Tekway, 2020 WL 5946973, at *5. The focus is on

actions by the defendant, not harm to the plaintiff.

         True, Gharavi may have “experienced a particular injury or effect” in Illinois. See

Walden, 571 U.S. at 290. But that’s not enough. The posts by FloSports, Pyles, and Kozak do

not “connect[] [them] to the forum in a meaningful way.” See Walden, 571 U.S. at 290.

         Gharavi relies on a case where the sale of a product to Illinois residents gave rise to

personal jurisdiction. See Pl.’s Resp., at 6 (Dckt. No. 41) (citing BRABUS GmbH v. Individuals

Identified on Schedule A Hereto, 2022 WL 7501046 (N.D. Ill. 2022)). That case does not move

the needle. This case is about defamatory online communications, not the sale of a product. The

alleged injury did not arise from the sale of anything to anyone in Illinois.

         Gharavi also puts weight on a case where a phone call to Illinois gave rise to personal

jurisdiction. See Nw. 1 Trucking Inc. v. Haro, 613 F. Supp. 3d 1081, 1094 (N.D. Ill. 2020). That




                                                  22
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 23 of 24 PageID #:1713




case doesn’t score him any points, either. Here, no one directly communicated with anyone in

Illinois.

        In sum, this Court lacks specific jurisdiction over FloSports, Pyles, and Kozak for any

claims related to their social-media activity.

        B.        Federal Copyright-Misrepresentation Claim

        The other claim is the copyright-misrepresentation claim. Gharavi alleges that “Connor

Jaschen, acting as a representative of FloSports, knowingly submitted false [copyright] takedown

notices for twenty of Gharavi’s YouTube videos . . . [but] Gharavi successfully defended each

[copyright] takedown notice . . . .” See Second Am. Cplt., at ¶ 38 (Dckt. No. 67).

        Communicating with YouTube doesn’t give rise to personal jurisdiction in Illinois.

YouTube isn’t based in the Land of Lincoln. It is based in California. See Contact Us, YouTube,

https://www.youtube.com/t/contact_us (last visited March 14, 2025). Nothing about that

communication was directed at Illinois.

            Maybe Gharavi felt the effects of the takedown notices in Illinois. But again, feeling an

injury in Illinois is not enough to give rise to personal jurisdiction over an out-of-state defendant.

See Walden, 571 U.S. at 290 (“The proper question is not where the plaintiff experienced a

particular injury or effect but whether the defendant’s conduct connects him to the forum in a

meaningful way.”).

        In any case, Gharavi does not make any argument why the takedown requests created a

connection to Illinois. Without a connection, there is no personal jurisdiction.




                                                   23
  Case: 1:24-cv-01969 Document #: 80 Filed: 03/14/25 Page 24 of 24 PageID #:1714




                                          Conclusion

       For the foregoing reasons, Defendants’ motion to dismiss (Dckt. No. 31) is hereby

granted. FloSports, Pyles, and Kozak are dismissed for lack of personal jurisdiction.




Date: March 14, 2025

                                                    Steven C. Seeger
                                                    United States District Judge




                                               24
